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                                                           CLERKS OFFICE U.S. DIST. COURT
                                                                                 AT CHARLOTTESVILLE, VA
                                                                                       FILED
                                                                                    03/04/2019
                          IN THE UNITED STATES DISTRICT COURT                     JULIA C. DUDLEY, CLERK
                         FOR THE WESTERN DISTRICT OF VIRGINIA                     BY: /s/ J. JONES
                                   Charlottesville Division                          DEPUTY CLERK

   ELIZABETH SINES et al.,                     )
        Plaintiffs,                            )       Civil Action No. 3:17-cv-00072
                                               )
  v.                                           )       ORDER
                                               )
  JASON KESSLER et al.,                        )       By:     Joel C. Hoppe
       Defendants.                             )               United States Magistrate Judge

          This matter is before the Court on a motion by James Kolenich, Esq., and Elmer

  Woodard, Esq., to withdraw as counsel of record for Defendants Jeff Schoep, Nationalist Front,

  and National Socialist Movement. ECF No. 420. Mr. Schoep also filed a pro se motion seeking

  to represent himself in this matter. ECF No. 418. On March 1, 2019, the Court held a conference

  call on the record, at which Mr. Kolenich, Mr. Schoep, and counsel for Plaintiffs appeared. Non-

  party movant James Hart Stern also appeared in his capacity as the current “President/Director”

  of Defendant National Socialist Movement. See ECF Nos. 413, 427, 430. For the reasons stated

  on the record during the hearing, it is hereby ORDERED:

          1.     Defendant Schoep’s motion, ECF No. 418, is GRANTED. At the hearing, Mr.

  Schoep indicated that he planned to retain new counsel. Accordingly, the Court grants Mr.

  Schoep until the end of the day on Monday, March 18, 2019, to: (1) retain a licensed attorney;

  and (2) have that attorney enter his or her appearance on Mr. Schoep’s behalf in this matter.

  Counsel must be admitted to practice before the United States District Court for the Western

  District of Virginia. See W.D. Va. Gen. 6(a)–(d), (i). Mr. Schoep is currently proceeding pro se,

  and, unless and until counsel enters an appearance on his behalf, Mr. Schoep is solely

  responsible for conducting his defense in accordance with all rules, court orders, and deadlines in

  this case.



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          2.      The motion to withdraw as counsel, ECF No. 420, is GRANTED in its entirety.

  The Clerk is directed to terminate Mr. Kolenich and Mr. Woodard as counsel of record for

  Defendants Schoep, Nationalist Front, and National Socialist Movement.

          3.      Plaintiffs allege that Defendants Nationalist Front and National Socialist

  Movement are unincorporated associations subject to suit under Virginia law. Am. Compl. ¶¶ 38,

  39, ECF No. 175. Unlike individuals, artificial entities may “appear in the federal courts only

  through licensed counsel.” Rowland v. Calif. Men’s Colony, 506 U.S. 194, 202–03 (1993). This

  “rule applies equally to all artificial entities,” id., including unincorporated associations.

  Accordingly, Defendant Nationalist Front and Defendant National Socialist Movement are each

  directed, by the end of the day on Monday, March 18, 2019, to: (1) retain a licensed attorney;

  and (2) have that attorney enter his or her appearance on the Defendant entity’s behalf in this

  matter. Counsel must be admitted to practice before the United States District Court for the

  Western District of Virginia. See W.D. Va. Gen. 6(a)–(d), (i). Either Defendant’s failure to

  comply with this order may result in an order directing that Defendant to show cause why

  it should not be held in contempt of court.

                                                   ***

          At the March 1 hearing, the Court addressed certain discovery-related issues raised by

  Plaintiffs’ counsel in correspondence sent to the Court and to all Defendants or their counsel on

  February 27, 2019. The issues concern ongoing problems and delays that the Court repeatedly

  has addressed in conference calls held on the record with counsel for all parties that have entered

  an appearance in this matter. See ECF Nos. 385, 400, 419, 429. As counsel well know, discovery

  in this case has been exceptionally protracted. The Court has had to address numerous

  disagreements between the parties and to impose special deadlines for Defendants to meet their



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  existing discovery obligations—with limited success. Accordingly, the Court establishes the

  following deadlines:

         x      Defendants Schoep, Nationalist Front, and Nationalist Socialist Movement must

         sign the third-party vendor contract by the end of the day on Monday, March 4, 2019.

         x      All Defendants covered by the Stipulation & Order, ECF No. 383, must produce

         their electronic devices and social media account credentials to access electronically

         stored information (“ESI”) to the third-party vendor by the end of the day on Friday,

         March 8, 2019.

         x      For good cause shown, the deadline to produce initial expert reports is stayed

         pending further order of the Court.

         x      During the week of March 11, 2019, the Court will hold a status conference call

         with counsel for the parties, as well as any self-represented individual defendants, to set a

         schedule for Defendants to review and produce their ESI to Plaintiffs’ counsel, and to

         discuss other deadlines, including a new trial date.

         It is so ORDERED.

                                                       ENTER: March 4, 2019



                                                       Joel C. Hoppe
                                                       U.S. Magistrate Judge




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